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                                             RIDER

    PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

        On January 15, 2020, each of the affiliated entities listed below (including the debtor in
this chapter 7 case) filed a voluntary petition for relief under chapter 7 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware.

                                                               Federal Employer
                 Entity Name
                                                          Identification Number (EIN)
Clio Holdings, LLC                                 XX-XXXXXXX
Clio Intermediate, LLC                             XX-XXXXXXX
Top Master Acquisition, LLC                        XX-XXXXXXX
Granite Source Acquisition, LLC                    XX-XXXXXXX
Solid Surfaces, Inc.                               XX-XXXXXXX
USM Acquisition, LLC                               XX-XXXXXXX
Premier Surfaces Acquisition, LLC                  XX-XXXXXXX
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 7

CLIO HOLDINGS, LLC, et al.,                                    Case No. 20-_____ (___)

                      Debtors. 1



                             CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rule Bankruptcy Procedure 1007(a)(1), other than governmental
units, all corporation(s) that directly or indirectly own 10% or more of any class of the
corporation’s equity interests are listed below:

O2 Oxygen 1 Clio Intermediate, LLC
Clio Strategic Investors, LLC
F.N.B. Capital Partners, L.P.




1
 The Debtors in these cases, along with the last four digits of each Debtors’ federal EIN, are as follows: Clio
Holdings, LLC (7850); Clio Intermediate, LLC (2791); Top Master Acquisition, LLC d/b/a Premier Surfaces
(2670); Granite Sources Acquisition, LLC d/b/a Premier Surfaces (1334); Solid Surfaces, Inc. d/b/a Premier
Surfaces (7057); USM Acquisition, LLC (8119); Premier Surfaces Acquisition, LLC (4563). The Debtors’
corporate headquarters and mailing address is 4525 NW 41st St, Suite 400, Riverside, MO 64150.
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 7

CLIO HOLDINGS, LLC, et al.,                                    Case No. 20-_____ (___)

                      Debtors.1



                             CERTIFICATION OF CREDITOR MATRIX

              Clio Holdings, LLC, and its affiliates as debtors in the above-captioned chapter 7
case (the “Debtors”) hereby verify and declare under penalty of perjury that the Creditor Matrix
submitted herewith, pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), formatted in portable document format, containing the list of creditors of the Debtors, is,
to the best of the Debtors’ knowledge, correct and consistent with the Debtors’ books and
records.

                The information contained in the Creditor Matrix is based on a review of the
Debtors’ books and records. However, the Debtors have not completed a comprehensive legal
and/or factual investigation with regard to possible defenses to any claims of the potential
claimants included in the Creditor Matrix. In addition, certain of the entities included in the
Creditor Matrix may not hold outstanding claims as of the date hereof, and therefore may not be
creditors of the Debtors for purposes of this chapter 7 case. Therefore, this listing does not and
should not be deemed to constitute either (i) a waiver of any defenses to any claims that may be
asserted against the Debtors, or (ii) an acknowledgment of the validity or amount of any claims
that may be asserted against the Debtors.




1
 The Debtors in these cases, along with the last four digits of each Debtors’ federal EIN, are as follows: Clio
Holdings, LLC (7850); Clio Intermediate, LLC (2791); Top Master Acquisition, LLC d/b/a Premier Surfaces
(2670); Granite Sources Acquisition, LLC d/b/a Premier Surfaces (1334); Solid Surfaces, Inc. d/b/a Premier
Surfaces (7057); USM Acquisition, LLC (8119); Premier Surfaces Acquisition, LLC (4563). The Debtors’
corporate headquarters and mailing address is 4525 NW 41st St, Suite 400, Riverside, MO 64150.
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                                         United States Bankruptcy Court
                                                                  District Of 'HODZDUH


Clio Holdings, LLC, et. al,
Debtors
                                                                                                      Case No. 20_____ (___)

                                                                                                                                      Chapter 

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

 1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I was the Delaware attorney
      for the above named debtor and that compensation paid to me within one year before the filing of the
      petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the
      debtor in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $75,000.00

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $75,000.00

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00

 2.   The source of the compensation paid to me was:

             x Debtor                                    Other (specify)

 3.   The source of compensation to be paid to me is:

             x Debtor                                    Other (specify)

 4.         x I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

 5.   In return for the above-disclosed fee, I have agreed to advise the Debtors in connection with this
      bankruptcy case, including:

      a.    Review and filing of the petitions for Clio Holdings, LLC; Clio Intermediate, LLC; Top Master
            Acquisition, LLC; Granite Sources Acquisition, LLC; Solid Surfaces, Inc.; USM Acquisition,
            LLC; and Premier Surfaces Acquisition, LLC (collectively, the "Debtors").
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